 Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 1 of 16 PageID #:1473




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


LG ELECTRONICS INC. AND
LG ELECTRONICS ALABAMA, INC.,                  Case No. 2021-cv-2600

                Plaintiff,                     MEMORANDUM OF LAW IN
                                               SUPPORT OF MOVING
         v.
                                               DEFENDANTS’ EMERGENCY
THE PARTNERSHIPS AND                           MOTION TO DISSOLVE THE EX
UNINCORPORATED ASSOCIATIONS                    PARTE TRO AND
IDENTIFIED IN SCHEDULE A,                      PRELIMINARY INJUNCTION


                Defendants.
       Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 2 of 16 PageID #:1474




                                                     TABLE OF CONTENTS



I.         PRELIMINARY STATEMENT ............................................................................................ 1

II.        LEGAL STANDARD ............................................................................................................. 4

III.         ARGUMENT ....................................................................................................................... 5

      A.        Plaintiffs obtained the Preliminary Injunction without Notice to Defendants. ................ 5

      B.        Plaintiffs Cannot Show Irreparable Harm. ....................................................................... 5

                1.      Plaintiffs Have an Adequate Remedy at Law ......................................................... 6
                2.      Plaintiffs’ Delay in Filing the Present Motion Undermines Any Claim of
                        Irreparable Harm and Is Grounds for Denial .......................................................... 9

      C.        The Balance of Harms Tilts Sharply in Defendant’s Favor. .......................................... 10

      D.        If This Court Deems It Necessary to Maintain the Preliminary Injunction, Plaintiffs
                Should Be Required to Post a Bond of at Least $2 Million. .......................................... 11

IV.          CONCLUSION .................................................................................................................. 12




                                                                      -ii-
    Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 3 of 16 PageID #:1475




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

Abbott Labs. v. Sandoz, Inc.,
   2006 WL 3718025 (N.D. Ill. Dec. 15, 2006) .........................................................................5, 9

Air Serv Corp. v. Serv. Emps. Int’l Union,
    2016 WL 7034136 (N.D. Ill. Dec. 2, 2016) ...............................................................................4

In re Banco Bradesco S.A. Sec. Litig.,
    277 F. Supp. 3d 600 (S.D.N.Y. 2017)........................................................................................7

Consolidation Coal Co. v. Disabled Miners of S. West Virginia,
   442 F.2d 1261 (4th Cir. 1971) ...................................................................................................5

David White Instruments, LLC v. TLZ, Inc.,
   2002 WL 31741235 (N.D. Ill. Dec. 4, 2002) .........................................................................6, 9

E. St. Louis Laborers’ Local 100 v. Bellon Wrecking & Salvage Co.,
    414 F.3d 700 (7th Cir. 2005) .....................................................................................................6

Goodman v. Illinois Dep't of Fin. & Prof'l Regulation,
   430 F.3d 432 (7th Cir. 2005) .....................................................................................................4

Johnson Pub. Co. v. Willitts Designs Int'l, Inc.,
   1998 WL 341618 (N.D. Ill. June 22, 1998) ...............................................................................9

Judge v. Quinn,
   612 F.3d 537 (7th Cir. 2010) .....................................................................................................5

Kastanis v. Eggstacy LLC,
   752 F. Supp. 2d 842 (N.D. Ill. 2010) .......................................................................................10

Kreg Therapeutics, Inc. v. Vitalgo, Inc.,
   2011 WL 5325545 (N.D. Ill. Nov. 3, 2011) ..............................................................................8

Long v. Bd. of Educ., Dist.
   128, 167 F. Supp. 2d 988 (N.D. Ill. 2001) .................................................................................4

McGhee v. Joutras,
  1996 U.S. Dist. LEXIS 18019 (N.D. Ill. Dec. 4, 1996) .............................................................7

Mead Johnson & Co. v. Abbott Labs.,
  209 F.3d 1032 (7th Cir. 2000) .................................................................................................10




                                                                -iii-
    Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 4 of 16 PageID #:1476




Medeco Sec. Locks, Inc. v. Swiderek,
  680 F.2d 37 (7th Cir. 1981) .......................................................................................................1

Merritte v. Kessell,
   2015 WL 1775777 (S.D. Ill. Apr. 16, 2015) ..............................................................................4

Mich. v. U.S. Army Corps of Eng’rs,
   No. 10-CV-4457, 2010 WL 5018559 (N.D. Ill. Dec. 2, 2010) ..................................................6

Micro Data Base Sys., Inc. v. Nellcor Puritan Bennett, Inc.,
   165 F.3d 1154 (7th Cir. 1999) ...................................................................................................7

Ohio Art Co. v. Lewis Galoob Toys, Inc.,
   799 F. Supp. 870 (N.D. Ill. 1992) ..............................................................................................9

Praefke Auto Elec. & Battery Co., Inc. v. Tecumseh Prods. Co., Inc.,
   255 F.3d 460 (7th Cir. 2001) .....................................................................................................6

Rizzo v. Goode,
    423 U.S. 362 (1976) ...................................................................................................................4

Roche Diagnostics Corp. v. Med. Automation Sys., Inc.,
   646 F.3d 424 (7th Cir. 2011) ...................................................................................................11

Roland Mach. Co. v. Dresser Indus., Inc.,
   749 F.2d 380 (7th Cir. 1984) .....................................................................................................8

Smith v. Foster,
   2016 WL 2593957 (E.D. Wis. May 5, 2016).........................................................................4, 9

Snap-On Tools Co. v. C/Net, Inc.,
   1997 WL 33483145 (N.D. Ill. Oct. 3, 1997)..............................................................................9

United States v. Jones,
   713 F.3d 336 (7th Cir. 2013) .....................................................................................................7

Wheeler v. Talbot,
  770 F.3d 550 (7th Cir. 2014) .................................................................................................1, 5

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) .......................................................................................................................5

Other Authorities

Fed. R. Civ. P. 65 .................................................................................................................5, 10, 11




                                                                   -iv-
   Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 5 of 16 PageID #:1477




        Defendants Express Parts LLC d/b/a as Express Parts !!!, Shanghai Yu Tian Qi Technology

Co., Ltd. d/b/a as GLACIERFRESH, Ninbo Haishu Keze Replacement Equipment Co., Ltd d/b/a

as Kozero Filter, Ninbo Haishu Bichun Technology Co., Ltd d/b/a as Pureza Filters (“Moving

Defendants”) hereby move for an order dissolving the preliminary injunction obtained by Plaintiffs

LG Electronics Inc.’s (“LGE”) and LG Electronics Alabama, Inc. (“LGEAI”) on June 15, 2021.

ECF No. 29 (“Injunction”).

                               I.    PRELIMINARY STATEMENT

        Plaintiffs assert patent infringement claim against a series of sellers of replacement water

filters on Amazon.com. Without distinguishing between the sixteen different sellers, Plaintiffs

requested and obtained a preliminary injunction ex parte freezing all defendants’ storefronts.

        As a threshold matter, the Injunction must be dissolved because Plaintiffs obtained it

without notice and opportunity for a hearing for any of the Defendants. It is well-settled that “a

court may not issue a preliminary injunction without advance notice to the adverse party.” Wheeler

v. Talbot, 770 F.3d 550, 552 (7th Cir. 2014) (citing Fed. R. Civ. P. 65(a)(1)); see also Medeco Sec.

Locks, Inc. v. Swiderek, 680 F.2d 37, 38 (7th Cir. 1981) (“Rule 65[] provides that no preliminary

injunction shall be issued without notice to the adverse party. Notice implies the opportunity to be

heard. Hearing requires trial on the issue or issues of fact. Trial on the issue of fact necessitates

opportunity to present evidence and not by only one side of the controversy.”) While this reason

alone is sufficient to warrant a dissolution of the injunction, Plaintiffs also fail on the merits.

        First, Plaintiffs fail to show money damages are insufficient. Here, Plaintiffs provide

cursory infringement contentions, but the core of their argument is purported harm that cannot be

remedied with money damages for two primary reasons—neither of which hold any water.

Plaintiffs first claim that Defendants’ inferior products place LG’s brand goodwill and reputation
   Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 6 of 16 PageID #:1478




at immediate risk. Critically missing from Plaintiffs’ motion is any showing of evidence of such

imminent harm caused by Moving Defendants’ products. Instead, Plaintiffs’ motion is suffused

with hyperbole and ad hominem attacks that lump all “defendants” together as one in order to tar

all with the alleged misdeeds of others. Of course, even Plaintiffs had to admit—in a footnote

nestled within its exhibited schedule of storefronts—that only two of the sixteen stores it enjoined

sold products misbranded with LG’s logo. ECF No. 16 (“TRO Motion”), Ex. 1, at 2. Neither

belongs to the Moving Defendants, who, as set forth below, has consistently sought to build its

own brands through quality products.

        Plaintiffs’ next argument for harm that cannot be cured with monetary damages is the bald

speculation that defendants will be unable or unwilling to satisfy any judgment simply because

they are foreign entities. Accepting Plaintiff’s argument would lead to the bizarre result that a

TRO is always warranted against a foreign defendant, which has no support in the law. Here,

Moving Defendants rely on the U.S. for                                                              Wu

Decl. ¶¶ 3, 7. It can pay money damages and furthermore, cannot afford to flout a U.S. federal

court’s authority. Id. Plaintiffs therefore fail to establish this essential element of an injunction.

        Second, Plaintiffs’ delay in seeking injunctive relief further belies any claim of irreparable

harm. Defendants have been advertising and selling the accused products openly for two years—

starting a year before the ‘984 patent was even issued. Wu Decl. ¶ 4. Given that Plaintiffs are in

the business of selling replacement water filters, Plaintiffs either knew or should have known of

the accused products long before it filed suit.

        Third, and worse still, Plaintiff also knew, or should have known in light of its apparently

exhaustive investigation, that each of Defendants’ Amazon storefronts sold numerous other home

appliance products that have no relation to and cannot possibly infringe upon the ‘984 patent. Yet




                                                  -2-
      Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 7 of 16 PageID #:1479




Plaintiffs still sought out a blanket injunction over all products Defendants sold, and did so days

before Amazon’s “Prime Day”—one of the biggest sales events of the year.1 Tellingly, and further

belying Plaintiffs’ assertions of irreparable harm, there are presently other U.S.-based—as

opposed to China-based Amazon stores the selling exact same LT1000P-type filter covered by the

allegedly infringed ‘984 patent via Amazon that Plaintiffs did not seek to enjoin.2 Here, without

explanation, Plaintiffs selectively sought out “Chinese” companies for injunction but not the U.S.

ones doing the same thing they enjoined. This further belies their claim of irreparable harm. Of

course, had they also sued the U.S. sellers, Plaintiffs would have been unable to pepper their papers

with numerous pejoratives about “Chinese” companies.3

           Moving Defendants have already suffered substantial hardship as a result of the TRO and

Injunction. For example, Moving Defendants’ f



                                                                                     Accordingly, in obtaining a

blanket freeze, Plaintiffs have managed to halt sales of up to

sales of products that are not even alleged to be infringing. With Amazon prime day days away,

these storefronts will suffer even greater harm if the accounts remain frozen.

           In short, it appears that Plaintiff does not in fact have a basis for obtaining an injunction.

Rather, LG, far from fearing irreparable harm, simply wanted to deal a well-timed blow to its

competitors in the lead up to Prime Day. The Injunction should be immediately dissolved.


1
    This year, Prime Day will be on June 21-22. See https://www.amazon.com/primeday, last accessed June 16, 2021.
2
  See e.g. Pureline: Amazon.com: Pureline LT1000P Water Filter Replacement. Compatible for Models LT1000P,
ADQ747935, MDJ64844601, LMXS28626S, LMXC23796S, LFXS26973D, and 9980. (2 Pack): Kitchen & Dining
last accessed June 16, 2021.
3
  In that sense, it is also telling that LGEAI, LG’s U.S. subsidiary, does not own the allegedly infringed patent, and
is named as a Plaintiff in this action solely so that one Plaintiff could claim to be a “United States Company.” Dkt. 1
(Complaint), ¶¶ 2, 13.


                                                          -3-
   Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 8 of 16 PageID #:1480




                                    II.    LEGAL STANDARD

        “[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be

granted unless the movant, by a clear showing, carries the burden of persuasion.” Goodman v.

Illinois Dep't of Fin. & Prof'l Regulation, 430 F.3d 432, 437 (7th Cir. 2005) (quoting Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997) (emphasis original)). Because a preliminary injunction is an

extraordinary remedy, the court’s power to issue such relief should be exercised sparingly. Rizzo

v. Goode, 423 U.S. 362, 378 (1976).

        A plaintiff seeking preliminary injunctive relief must establish by a “clear showing” that:

“(1) its case has some likelihood of success on the merits; (2) that no adequate remedy at law

exists; and (3) it will suffer irreparable harm if the injunction is not granted.” Long v. Bd. of Educ.,

Dist. 128, 167 F. Supp. 2d 988, 990 (N.D. Ill. 2001). “[B]urdens at the preliminary injunction stage

track the burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S.

418, 429 (2006). Thus, the movant “bears the burden of persuasion with regard to each factor in

the preliminary injunctive relief analysis,” and if it “fails to meet just one of the prerequisites for

a preliminary injunction, the injunction must be denied.” Smith v. Foster, 2016 WL 2593957, at

*3 (E.D. Wis. May 5, 2016) (quoting Cox v. City of Chicago, 868 F.2d 217, 219-23 (7th Cir.1989))

(emphasis added). In order to meet its burden, Plaintiff must support its motion “with evidence”

to satisfy “each of the[] elements” required to obtain injunctive relief. Merritte v. Kessell, 2015

WL 1775777, at *2 (S.D. Ill. Apr. 16, 2015); see also, e.g., Air Serv Corp. v. Serv. Emps. Int’l

Union, 2016 WL 7034136, at *1 (N.D. Ill. Dec. 2, 2016) (noting that the moving party “must show

that it will suffer irreparable harm.”) (emphasis added). If the movant meets these requirements,

the Court must then weigh, using a sliding scale, the harm the movant will suffer without an

injunction against the harm the non-movant will suffer if an injunction is issued. The more likely




                                                  -4-
     Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 9 of 16 PageID #:1481




the movant is to win, the less heavily need the balance of harm weigh in its favor; conversely, the

less likely the movant is to win, the more the balance must weigh in its favor. Judge v. Quinn, 612

F.3d 537, 546 (7th Cir. 2010). Such injunctive relief is “never awarded as of right,” and the Court

“must balance the competing claims of injury and must consider the effect on each party.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).

                                       III.   ARGUMENT

A.      Plaintiffs obtained the Preliminary Injunction without Notice to Defendants.
        Prior to granting a preliminary injunction, notice to the adverse party is required. See Fed.

R. Civ. P. 65(a)(1). It is axiomatic both in the Seventh Circuit and throughout the country, that

Rule 65(a)(1) of the Federal Rules of Civil Procedure requires “adverse parties receive notice

before preliminary injunctions are issued.” Wheeler, 770 F.3d 550, at 552 (emphasis original); see

also Consolidation Coal Co. v. Disabled Miners of S. West Virginia, 442 F.2d 1261, 1269 (4th Cir.

1971) (“plaintiffs obtained an ex parte preliminary injunction in a case in which there were sharply

disputed questions of fact and of law. This was manifestly error, because Rule 65(a)(1) is explicit

that no preliminary injunction shall be issued without notice to the adverse party.”) (internal

citations omitted).

        Here, no defendant was served with advance notice of the Injunction or afforded an

opportunity for a hearing in this matter. It is clear that Plaintiffs did not satisfy the notice

requirement of Rule 65(a)(1). For this reason alone, the Injunction must be dissolved.

B.      Plaintiff Cannot Show Irreparable Harm.

        On the merits, Plaintiffs failed to show the “immediate” irreparable harm required to justify

the “extraordinary and drastic,” “emergency” remedy of a preliminary injunction. See Abbott Labs.

v. Sandoz, Inc., 2006 WL 3718025, at *1 (N.D. Ill. Dec. 15, 2006); David White Instruments, LLC

v. TLZ, Inc., 2002 WL 31741235, at *2 (N.D. Ill. Dec. 4, 2002).


                                                 -5-
  Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 10 of 16 PageID #:1482




       1.    Plaintiffs Have an Adequate Remedy at Law

       The Court should dissolve the Injunction because Plaintiffs failed to demonstrate that they

do not have adequate remedy at law. First, conclusory or speculative contentions are insufficient

to demonstrate irreparable harm. See, e.g., E. St. Louis Laborers’ Local 100 v. Bellon Wrecking &

Salvage Co., 414 F.3d 700, 704-06 (7th Cir. 2005) (stating that “speculative injuries do not justify”

granting injunctive relief, and that a moving party “cannot obtain a preliminary injunction by

speculating about hypothetical future injuries”). Rather, Plaintiff’s “evidence must demonstrate

that [it] ha[s] carried [its] burden ‘that irreparable injury is likely’ — not just possible — ‘in the

absence of an injunction.’” Mich. v. U.S. Army Corps of Eng’rs, No. 10-CV-4457, 2010 WL

5018559 at *24 (N.D. Ill. Dec. 2, 2010). Here, Plaintiffs conclusively claimed a loss of sales and

market share, but proffered no evidence of specific instances of lost sales that are attributable to

the Moving Defendants—who sold under their own brands.

       But even assuming Plaintiff could prove that it was losing sales due to the Moving

Defendants’ conduct, the law is well-established that if “losses are purely financial, easily

measured, and readily compensated[,] [t]here is . . . no showing of irreparable harm, and on this

ground alone the preliminary injunction should [be] denied.” Praefke Auto Elec. & Battery Co.,

Inc. v. Tecumseh Prods. Co., Inc., 255 F.3d 460, 463 (7th Cir. 2001) (internal citations omitted)

(holding that movant’s alleged harm sounded in lost profits, which “ha[d] not fallen to a point that

threatens [the movant’s] solvency,” and thus did not constitute irreparable harm). As set forth

above, Moving Defendants generated

Thus, if this Court dissolves the Injunction, and it is later determined that Moving Defendant was

not permitted to sell LT1000P-type filters, Plaintiffs can still be made whole by recovering any

economic loss. Micro Data Base Sys., Inc. v. Nellcor Puritan Bennett, Inc., 165 F.3d 1154, 1157

(7th Cir. 1999) (no irreparable harm if “only money is at issue.”)


                                                 -6-
  Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 11 of 16 PageID #:1483




       Second, Plaintiff suffuses its brief with ad hominim attacks against Chinese companies,

and, in commingling a host of defendants without distinction, attempts to generalize the conduct

of some defendants to all Defendants. But even if one accepts Plaintiff’s Sinophobic

generalization, it is axiomatic that attempts to plead “guilt by association is impermissible.” In re

Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 664 (S.D.N.Y. 2017); United States v. Jones,

713 F.3d 336, 350 (7th Cir. 2013) (courts cannot “endorse the impermissible inferences of guilt

by association or mere presence.”); McGhee v. Joutras, 1996 U.S. Dist. LEXIS 18019, at *19

(N.D. Ill. Dec. 4, 1996) (rejecting “impermissible guilt-by-association premise that fuels each of

[a party’s] arguments.”).

       In alleging damage to the goodwill and reputation of the LG brand, Plaintiffs simply

asserted, without identifying the particular defendant that “Defendants” make and sell “low-

quality products” and alleged that customers “observing problems with Defendants’ infringing

water filters may wrongly believe the problem originated with an LG-branded refrigerator.” TRO

Motion, at 26. No part of the TRO Motion seeks to connect these allegations of “low quality” to

the Moving Defendants’ storefronts. That is because Plaintiffs cannot do so. Indeed, Defendants

have always sought to build their own brands through quality control. Ex. C (Product Test Report

for quality control purpose, conducted on January 5, 2021). Moving Defendants’ products also

meet established industry-wide safety standards that Plaintiffs acknowledged when touting the

quality of their own LT1000P products. Ex. D; TRO Motion at 25. Furthermore, Moving

Defendants’ products consistently received raving customer reviews on Amazon. Ex. E

(screenshots of Moving Defendants’ Amazon stores’ customer review page).

       While harm to goodwill can be an irreparable injury in certain circumstances, the “cases

where courts have found irreparable harm from a loss of goodwill or business relationships have




                                                -7-
  Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 12 of 16 PageID #:1484




involved situations where the dispute between the parties leaves one party unable to provide its

product to its customers.” Kreg Therapeutics, Inc. v. Vitalgo, Inc., 2011 WL 5325545, *6 (N.D.

Ill. Nov. 3, 2011). In this case, Plaintiffs have not alleged—nor can they—that they will be unable

to provide LT1000P products to customers as a result of Moving Defendants’ conduct. Indeed, far

from harming LG’s brand, Moving Defendants’ products have only built the quality of their own

brands—but legitimate competition is no basis for the “drastic” imposition of an Injunction.

       Third, Plaintiffs’ assertion that “Defendants” are unlikely to be able to satisfy a judgment

is pure, unsupported speculation. “In saying that the plaintiff must show that an award of damages

at the end of trial will be inadequate, we do not mean wholly ineffectual; we mean seriously

deficient as a remedy for the harm suffered.” Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d

380, 386 (7th Cir. 1984). Moving Defendants have annual sales in excess                      in the

U.S. market. See Ex. B; Wu Decl. ¶ 3.

       Given that patent damages generally do not exceed a defendant’s profits, Moving

Defendants have more than enough resources to satisfy any potential money judgment in this case.

Wu Decl. ¶ 6. Plaintiffs also argued that because Defendants are “foreign entities whose true

identities remain unknown, any monetary judgement may be difficult, if not impossible, to

collect.” TRO Motion, at 27. But Defendants have now been served, and Counsel has informed

Plaintiffs the storefronts the Moving Defendants operate. Ni Decl. ¶ 8.

       Plaintiffs also speculated in extending the TRO that Defendants were “likely attempt to

dodge service and continue to sell infringing knock-offs through Amazon under a different alias,

as well as move any assets from their financial accounts to off-shore bank accounts. ECF No. 23,

at 2. Respectfully, it takes time to build an Amazon storefront that can generate the kind of

consistently good reviews and sales in the range of the Moving Defendants’ stores, and they do




                                                -8-
  Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 13 of 16 PageID #:1485




not intend and cannot afford to just cut loose and run. Wu Decl. ¶ 10. Finally, the same substantial

revenues generated by each year in the U.S. market means that the Moving Defendants cannot

afford to flout a U.S. federal court’s judgment at a cost of giving up this entire market. Simply

put, there is no justification for finding that Plaintiffs would be unable to collect on a monetary

judgment in this case.

       In sum, Plaintiff’s failure to show irreparable harm and inadequacy of remedy at law

obviate any need for the Court to reach the remaining factors for considering injunctive relief. See

Smith, 2016 WL 2593957, at *3; Abbott Labs., 2006 WL 3718025, at *2; David White Instruments,

2002 WL 31741235, at *2.

       2.    Plaintiffs’ Delay in Filing the Present Motion Undermines Any Claim of
             Irreparable Harm and Is Grounds for Denial

       “A party’s failure to offer any reasonable explanation for its delay in seeking a temporary

restraining order will in and of itself support denial of a TRO.” Snap-On Tools Co. v. C/Net, Inc.,

1997 WL 33483145, at *11 (N.D. Ill. Oct. 3, 1997) (denying TRO where plaintiff delayed for 2-3

months). “Delay is a factor in assessing the existence of irreparable harm, [] and unexcused delay

on the part of parties seeking extraordinary injunctive relief is grounds for denial of a motion

‘because such delay implies a lack of urgency and irreparable harm.’” Ixmation, Inc. v. Switch

Bulb Co., Inc., , 2014 WL 5420273, at *7 (N.D. Ill. Oct. 23, 2014) (internal citations omitted)

(denying TRO where plaintiff delayed nearly four and a half months); Johnson Pub. Co. v. Willitts

Designs Int'l, Inc., 1998 WL 341618, at *8-9 (N.D. Ill. June 22, 1998) (denying preliminary

injunction because plaintiff “unduly delayed filing its motion [for four months], undermining its

claim that it will be irreparably harmed if an injunction is not issued”); Ohio Art Co. v. Lewis

Galoob Toys, Inc., 799 F. Supp. 870, 887 (N.D. Ill. 1992) (“It can be inferred from the plaintiff's

delay that there is no threat of irreparable harm”).



                                                 -9-
     Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 14 of 16 PageID #:1486




         Moving Defendants have been openly marketing and selling the accused product via online

storefronts since 2019 and did not know about the ’984 Patent until this lawsuit. Ex. F (screenshots

of store inventory on Amazon); Wu Decl. ¶ 4, 5. As Plaintiffs are in the business of selling

replacement water filters, they knew, or should have known, about the alleged infringement long

before this suit. Indeed, as set forth above, Plaintiffs are continuing to delay on moving against

other U.S.-based (as opposed to “Chinese” stores) selling the exact same product. This delay and

apparent willingness to exclude other identifiable sellers of the LT1000P forecloses an Injunction.

C.       The Balance of Harms Tilts Sharply in Defendant’s Favor.

         Even if the court were to assume that plaintiff had shown some likelihood of success on

the merits, the balance of harms weighs stronger in favor of Moving Defendants. Plaintiffs cannot

dispute that only one product is allegedly infringing. Here, the sales of LT1000P filter only

accounted for                                                                      Ex. B; Wu Decl.

¶ 4. There is no basis for                            Moving Defendants’ sales of non-infringing

products completely impertinent to the subject matter of this lawsuit. In short, Plaintiff cannot

“me[e]t their burden of showing that the harm [it] will suffer if the injunction is denied is

substantially greater than the harm [the Moving Defendants] would suffer if the injunction were

granted.” Kastanis v. Eggstacy LLC, 752 F. Supp. 2d 842, 858-59 (N.D. Ill. 2010).

         Indeed, as set forth above, it takes time to build up an Amazon storefront, and every day

Moving Defendants’ stores are frozen is one more day that they drop in Amazon search rankings.

Far from selling “knock-offs” and “low quality” products, Moving Defendants sell high quality

products that they designed and built themselves without knowing about the patent—the validity

of which is in dispute. In short, it is LG’s Injunction that is doing harm to Moving Defendants’

goodwill and brand recognition, not the other way around.




                                               -10-
     Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 15 of 16 PageID #:1487




D.       If This Court Deems It Necessary to Maintain the Preliminary Injunction, Plaintiffs
         Should Be Required to Post a Bond of at Least $2 Million.

         A bond is a pre-condition to preliminary injunction relief “for the payment of such costs

and damages as may be incurred or suffered by any party who is found to have been wrongfully

enjoined or restrained.” Fed. R. Civ. P. 65(c); Mead Johnson & Co. v. Abbott Labs., 209 F.3d

1032, 1033 (7th Cir. 2000). Because “[a] party injured by an erroneous preliminary injunction is

entitled to be made whole,” the bond must be high enough to cover any losses the defendant incurs

in the event the preliminary injunction was erroneously entered. See Roche Diagnostics Corp. v.

Med. Automation Sys., Inc., 646 F.3d 424, 428 (7th Cir. 2011) (“Judges [ ] should take care that

the bond is set high enough to cover the losses that their handiwork could cause.”). Accordingly,

the bond amount must adequately cover the potential harm to the enjoined party. Fed. R. Civ. P.

65(c). Setting a bond amount is not an exact science, however:

         In setting the amount of security for a preliminary injunction, the trial court should err on
         the high side. An error in setting the bond too high is not serious, because the fee to post
         bond is usually a fraction of the amount of the bond and because any recovery on the bond
         would have to be supported by proof of actual damages. On the other hand, an error on the
         low side may produce irreparable injury, because damages for an erroneous preliminary
         injunction may not exceed the amount of the bond.

13 Moore's Fed. Prac. 3d 65.50[2] at 65-94 (2006) (footnote omitted) (emphasis added).

         In the present case, there is zero basis to maintain a freeze over the non-infringing products.

As to the products alleged to be infringing, they should also be unfrozen because Moving

Defendants can pay money damages even if the patent is not invalidated. However, should the

Court desire to maintain an injunction over these, Moving Defendants have a two-year (improving)

track record of selling them via Amazon.

                             Ex. B. Assuming, generously, that it will take two years to resolve this

case, if this Court deems it necessary to maintain the Injunction, then a bond of at least $2 million

is necessary to “cover the possible damages and costs” to Moving Defendants. Fed.R.Civ.P. 65(c).


                                                  -11-
  Case: 1:21-cv-02600 Document #: 32 Filed: 06/17/21 Page 16 of 16 PageID #:1488




                                     IV.    CONCLUSION

       As this Court has observed, “ex parte temporary restraining orders are vulnerable to abuse,”

and thus, “the safeguards embodied in Federal Rule of Civil Procedure 65(b) must be scrupulously

honored.” PaineWebber Inc. v. Can Am Fin. Grp., Ltd., 1987 WL 16012, at *1 (N.D. Ill. Aug. 19,

1987) (citing 11 WRIGHT & MILLER, FED. PRAC. & PROC. § 2952 (1973)). Here, that was

not done. Accordingly, Moving Defendants respectfully request that this Court dissolve the

preliminary injunction, and grant Defendant such other and further relief as this Court deems

appropriate.



Respectfully Submitted

Dated: June 17, 2021
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                                                         by:_____________________
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                                               -12-
